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 6
     Patti C. Ratekin, Retired Commissioner of the Superior Court
 7   of California, County of San Diego, The Honorable
     Lorna A. Alksne, Retired Judge of the Superior Court of
 8
     California, County of San Diego, and The Honorable David
 9   J. Danielsen, Retired Judge of the Superior Court of California,
10
     County of San Diego

11

12                             UNITED STATES DISTRICT COURT
13                         SOUTHERN DISTRICT OF CALIFORNIA
14
     ROBERT EMERT,                              Case No. 23cv0230-RSH-AHG
15

16                Plaintiff,
                                                MEMORANDUM OF POINTS AND
17                                              AUTHORITIES IN SUPPORT OF
           V.
18
                                                MOTION TO DISMISS COMPLAINT
                                                WITH PREJUDICE BY
19   LUIS VENA; ANDREA SCHUCK;                  COMMISSIONER PATTI C. RATEKIN,
     MATTHEW W. CORD; PATTI C.
20                                              JUDGE LORNA A. ALKSNE, AND
     RATEKIN; DAVIDS. SCHULMAN;
                                                JUDGE DAVID J. DANIELSEN
21   LORNA A. ALKSNE; DAVID J.
22
     DANIELSEN; MOORE, SCHULMAN
     & MOORE; ROBERT OLAGUE,                    Date: April 7, 2023
23
     AND DOES 1-20 inclusive,                   Crtrm: 3B (Schwartz)
24
                                                Judge: The Honorable Robert S. Huie
                  Defendants.
25                                              PER CHAMBERS RULES, NO ORAL
26                                              ARGUMENT UNLESS SEPARATELY
                                                ORDERED BY THE COURT
27

28




                                MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                      23cv0230
                                                      TOPICAL INDEX
                                                                                                                           Page(s)
 2

 3

 4
     TABLE OF AUTHORITIES.....................................................................................               -11-
 5
     I.      INTRODUCTION...........................................................................................         1
 6

 7
     II.     SUMMARY OF ALLEGATIONS OF THE COMPLAINT..........................                                              2
 8
             A.       Underlying State Court Cases...............................................................           2
 9
                      z.       Family Law Case 19FL010852N...............................................                    2
10
                      ii.      Criminal Case SCD297230........................................................              3
11
             B.       Allegations Against The Judicial Defendents............. ...... ...... ......... ....                 3
12
                      z.       Allegations as to Commissioner Ratekin...... .. .... ............. ...... ... .              3
13
                      ii.      Allegations as to Judge Alksne.... ............... ........ ...... ...... ............       4
14
                      iii.     Allegations as to Judge Danielsen.............................................               5
15                    iv.      Causes ofAction.........................................................................     5
16   III.    LEGAL STANDARD.....................................................................................            6
17   IV.     ARGUMENT ..................................................................................................    7
18           A.       Judicial Defendents Are Absolutely Immune From Liability............... 7
19           B.       Eleventh Amendment Immunity Bars Plaintiffs Action ...................... 10
20           C.      The Younger Abstention Doctrine Bars This Action ............................ 11
21           D.       This Action Is Barred By The Rooker-Feldman Doctrine .................... 13
22           E.      The Action is Barred By Res Judicata As To Commissioner Ratekin .. 15
23   V.      CONCLUSION ................................................................................................ 16
24

25

26

27

28




                                      MEMORANDUM OF POINTS AND AUTHORITIES - i
                                                                                                                           23cv0230
                                                     TABLE OF AUTHORITIES
 2

 3
                                                                                                                       Page(s)

 4                                                                  Cases
 5
     31 Foster Children v. Bush, 329 F.3d 1255 (11th Cir. 2003) ................................. 13
 6
     Alabamav. Pugh, 438 U.S. 781 (1978) .................................................................. 10
 7
     Ashcroft v. Iqbal, 556 U.S. 662 (2009) ..................................................................... 6
 8

 9   Ashe/man v. Pope, 793 F.2d 1072 (9th Cir. 1986) .............................................. 7, 10
10   Barkus v. Shamoon, No. 3:22-cv-470-RSH-NLS, 2022 WL 16701118 (S.D.
11      Cal., Nov. 3, 2022) ............................................................................................... 7

12   Bernstein v. United States Dep't ofHaus. & Urb. Dev., No. 20-CV-02983-
13
        WHO, 2021 WL 4501795 (N.D. Cal. Oct. 1, 2021) ............................................ 9

14   Bianchi v. Rylaarsdam, 334 F.3d 895 (9th Cir. 2003) ...................................... 13, 14
15
     Bradley v. Fisher, 80 U.S. 335 (1871) ...................................................................... 8
16
     Caltex Plastics, Inc. v. Lockheed Martin Corporation, 824 F .3d 1156 (9th
17
       Cir. 2016) .................................................................... .......................................... 6
18
     Carmona v. Carmona, 603 F.3d 1041 (9th Cir. 2010) ............................................ 13
19
     In re Castillo, 297 F.3d 940 (9th Cir. 2002) ............................................................. 7
20

21   Commc 'ns Telesys. Int'! v. Cal. Pub. Util. Comm 'n, 196 F .3d 1011 (9th Cir.
       1999) ................................................................................................................... 12
22

23   Cooper v. Ramos, 704 F.3d 772 (9th Cir. 2012) ..................................................... 14

24   District of Columbia Court ofAppeals v. Feldman, 460 U.S. 462 (1983) ............... 1
25
     Duvall v. Cnty. of Kitsap, 260 F .3d 1124 (9th Cir. 2001) ......................................... 9
26
     E.T v. George, 681 F. Supp. 2d 1151 (E.D. Cal. 2010) ......................................... 13
27

28
     Farm Credit Servs. v. Am. State Bank, 339 F.3d 764 (8th Cir. 2003) ...................... 6



                                         MEMORANDUM OF POINTS AND AUTHORITIES - ii
                                                                                                                                  23cv0230
                                                                                                                        Page(s)

 2                                                   Cont'd Cases
 3
      Franceschi v. Schwartz, 57 F.3d 828 (9th Cir. 1995) ............................................ 10
 4
     Gibson v. Berryhill, 411 U.S. 564 (1973) ............................................................... 12
 5

 6
     Greater Los Angeles Council of Deafness, Inc. v. Zolin, 812 F .2d 1103 (9th
         Cir. 1987) ..... ....................................................................................................... 11
 7
     Hill v. Ponner, No. 1:18-cv-01471-DAD-SKO, 2019 WL 142280 (E.D. Cal.
 8
        Jan. 9, 2019) ......................................................................................................... 9
 9
     Ignacio v. Judges of US. Court ofAppeals for Ninth Circuit, 453 F.3d 1160
10
        (9th Cir. 2006) .................................................................................................... 14
11
     Ison v. Superior Ct. of California, No. 2:21-cv-01546-MCE-KJN, 2022 WL
12
        4484019 (E.D. Cal. Sept. 27, 2022) ..................................................................... 7
13
     Johnson v. Altamirano, 418 F. Supp. 3d 530 (S.D. Cal. 2019) ............................... 15
14

15
     Los Angeles County Ass 'n of Envtl. Health Specialists v. Lewin, 215 F.
        Supp. 2d 1071 (C.D. Cal. 2002) ......................................................................... 11
16
     Lundv. Cowan, 5 F.4th 964(9th Cir. 2021) .............................................................. 9
17

18   Mack v. South Bay Beer Distributors, Inc., 798 F .2d 1279 (9th Cir. 1986),
       overruled on other grounds by Astoria Fed. Sav. & Loan Ass 'n v.
19
       Solimino, 501 U.S. 104 (1991) ............................................................................. 6
20
     Mahaley v. Mapes, No. EDCV 12-01896-PSG OP, 2013 WL 1914237 (C.D.
21
       Cal. Apr. 16, 2013) ............................................................................................. 11
22
     Manufactured Home Cmtys. Inc. v. City of San Jose, 420 F.3d 1022 (9th Cir.
23
       2005) ................................................................................................................... 15
24
     Marshall v. Marshall, 547 U.S. 293 (2006) ............................................................ 12
25
     Merrittv. McKenney, No. C 13-01391 JSW, 2013 WL 4552672 (N.D. Cal.
26
         Aug. 27, 2013) ...................................................................................................... 9
27
     Middlesex Cty. Ethics Comm. v. Garden State Bar Ass'n, 457 U.S. 423
28
       (1982) ................................................................................................................. 12


                                         MEMORANDUM OF POINTS AND AUTHORITIES - iii
                                                                                                                                   23cv0230
                                                                                                                      Page(s)

 2                                                  Cont'd Cases
 3                                                     .
     Mireles v. Waco, 502 U.S. 9 (1991) .......................................................................... 8
 4
     Moore v. Brewster, 96 F .3d 1240 (9th Cir. 1996) ..................................................... 7
 5

 6
     Munoz v. Superior Ct. ofLos Angeles Cnty., No. CV 22-3436-MWF, 2022
       WL 7150155 (C.D. Cal. Oct. 7, 2022) ................................................................. 9
 7
     Nemcikv. Fannin, No. 18-CV-05120-JST, 2019 WL 720993 (N.D. Cal. Feb.
 8
       20, 2019) ............................................................................................................... 9
 9
     Noel v. Hall, 341 F.3d 1148 (9th Cir. 2003) ........................................................... 13
10

11   Oliver v. Placer Superior Court, No. 2:12-CV-2665 GEB GGH, 2013 WL
        2488557 (E.D. Cal. Jun. 10, 2013) ..................................................................... 11
12

13
     Parent v. New York, 786 F. Supp. 2d 516 (N.D.N.Y. 2011) ..................................... 9

14   Pattillo v. White, 890 F.2d 420 (9th Cir. 1989) (unpub.) .......................................... 9
15
     Pennzoil Co. v. Texaco, Inc., 481 U.S. 1 (1987) ..................................................... 12
16
     Pierson v. Ray, 386 U.S. 547 (1967) ................................................................... 8, 10
17

18
     Prostitis v. Riverside Superior Fam. L. Ct., No. 5 :20-cv-00026-SVW-KES,
        2020 WL 3843727 (C.D. Cal. Apr. 15, 2020) ................................................... 12
19
     Riggle v. California, 577 F .2d 579 (9th Cir. 1978) ................................................. 10
20

21   Riser v. Schnieder, 37 F. App'x 763 (6th Cir.2002) .................................................. 9
22   Robertson v. City of Grand Rapids, No. 1:06-CV-451, 2008 WL 22241 73
23     (W.D. Mich. May 27, 2008) ................................................................................. 9

24   Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923) ................................................... 1
25
     Samuel v. Michaud, 980 F. Supp. 1381 (D. Idaho 1996), ajf'd, 129 F.3d 127
26     (9th Cir. 1997) .................................................................................................... 14
27
     San Jose Silicon Valley Chamber of Commerce Political Action Comm. v.
28      City of San Jose, 546 F.3d 1087 (9th Cir. 2008) .......................................... 11, 12


                                         MEMORANDUM OF POINTS AND AUTHORITIES - iv
                                                                                                                                 23cv0230
                                                                                                                        Page(s)

 2                                                   Cont'd Cases
 3
     Schucker v. Rockwood, 846 F .2d 1202 (9th Cir. 1988) ............................................. 8
 4
     Simmons v. Sacramento County Superior Court, 318 F.3d 1156 (9th Cir.
 5
        2003) ................................................................................................................... 11
 6
     Skilstaf, Inc. v. CVS Caremark Corp., 669 F .3d 1005 (9th Cir. 2012) ..................... 6
 7
     Steffens v. Steffens, 955 F. Supp. 101 (D. Colo. 1997) ........................................... 12
 8

 9   Stewart v. U.S. Bancorp., 297 F .3d 953 (9th Cir. 2002) ......................................... 16
10   Stump v. Sparkman, 435 U.S. 349 (1978) ....................................................... 7, 8, 10
11
     Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg'! Planning Agency, 322 F.3d
12      1064 (9th Cir. 2003) ..................................................................................... 15, 16
13
     In re Thomas, 508 F.3d 1225 (9th Cir. 2007) .......................................................... 8
14
     Wagner v. Copart, No. CV 14-05569-GHK (DTB), 2015 WL 6549109
15
       (C.D. Cal. Sep. 11, 2015) ................................................................................... 14
16
     Weisbuch v. County ofLos Angeles, 119 F.3d 778 (9th Cir. 1997) .......................... 6
17

18
     White v. Cox, No. C 07-3815 PJH, 2008 WL 686760 (N.D. Cal. Mar. 10,
       2008) ................................................................................................................... 11
19
     Will v. Michigan Dept. of State Police, 491 U.S. 58 (1989) ................................... 11
20

21   Wolfe v. Strankman, 392 F.3d 358 (9th Cir. 2004) ................................................... 6
22   Younger v. Harris, 401 U.S. 37 (1971) ................................................................ 1,12
23
                                                            Statutes - Federal
24
     42 U.S.C. § 1983 ............................................................................................... 1, 2, 5
25

26                                                            Statutes - State

21   California Penal Code § 1490 ............................................................................ 10, 13
28
                                                                                                                        Page(s)


                                          MEMORANDUM OF POINTS AND AUTHORITIES - v
                                                                                                                                   23cv0230
                                                   Cont'd Statutes - State

 2   California Penal Code § 278.5 .................................................................................. 3
 3
                                                        Rules - Federal
 4
     Federal Rule of Civil Procedure 12(b)(l) ................................................................. 6
 5

 6
     Federal Rules of Civil Procedure Rule 12(b)(6) ....................................................... 6

 7                                                       Rules - State
 8
     California Rules of Court, Rule 8.406 ..................................................................... 10
 9

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                                      MEMORANDUM OF POINTS AND AUTHORJTIES - vi
                                                                                                                      23cv0230
                                                I.
2                                        INTRODUCTION
3          Plaintiff Robert Emert' s Complaint brought against, and amongst others, 1
4    Defendants the Honorable Patti C. Ratekin, Retired Commissioner of the Superior Court
 5   of California, County of San Diego ("Commissioner Ratekin"), the Honorable Loma A.
6    Alksne, Retired Judge of the Superior Court of California, County of San Diego ("Judge
7    Alksne"), and the Honorable David J. Danielsen, Retired Judge of the Superior Court of
 8   California, County of San Diego ("Judge Danielsen") (hereinafter collectively "Judicial
 9   Defendants") seeks to review and undo the rulings made by these judicial officers in his
10   ongoing state family dissolution and criminal cases. In an attempt to circumvent the rulings
11   in these state actions, Plaintiff presents an outlandish tale alleging that in retaliation for
12   criticizing government officials, the Judicial Defendants conspired with each other to
13   violate his constitutional rights by engaging in an "illicit pattern of behavior" to ultimately
14   have him arrested and held on no bail in his criminal case. Consumed by conspiratorial
15   fantasies, Plaintiff alleges a 42 U.S.C. § 1983 declaratory relief claim and conspiracy cause
16   of action under§ 1983 against the Judicial Defendants, a§ 1983 claim for violation of his
17   5th and 14 th Amendment rights against Commissioner Ratekin and Judge Alksne, and a
18   violation of American Disabilities Act ("ADA") against Judge Alksne.
19         However, the Complaint is fatally defective and subject to dismissal on several
20   grounds. Specifically, the Judicial Defendants enjoy absolute judicial immunity and
21   immunity under the Eleventh Amendment. Further, Plaintiff's claims are barred pursuant
22   to the Younger 2 abstention and the Rooker-Feldman 3 doctrines. Additionally, res judicata
23   1
       Plaintiff has named Luis Pena (erroneously named "Vena" in the caption of the
24   Complaint), an Investigator with the San Diego County District Attorney's Office; Andrea
25
     Schuck, his ex-wife and mother of his children; Matthew W. Cord, minor's counsel in the
     family law case; David S. Schulman, counsel for Andrea Schuck in the family law case;
26
     the law office of Moore, Schulman & Moore; and psychologist Olague as defendants in
27   this matter.
     2
       Younger v. Harris, 401 U.S. 37 (1971).
28   3
       Rooker v. Fidelity Trust Co., 263 U.S. 413, 415 (1923); District of Columbia Court of

                              MEMORANDUM OF POINTS AND AUTHORITIES - 1
                                                                                            23cv0230
 1   bars this action against Commissioner Ratekin. Because these defects cannot be cured, the
 2   Judicial Defendants respectfully request the Court grant their motion to dismiss without
 3   leave to amend and dismiss this action with prejudice.
 4              II.    SUMMARY OF ALLEGATIONS OF THE COMPLAINT
 5         A.     Underlying State Court Cases.
 6                i.     Family Law Case 19FL010852N
 7         As set forth in the Complaint, Plaintiff is a party in San Diego Superior Court family
 8   dissolution case no. 19FL0 10852N. (Complaint at p. 6,       ,r   1, ECF No. 1.) Custody of
 9   Plaintiffs two minor children is an issue in the case. (Id.) Commissioner Ratekin presided
10   over Plaintiffs family law case from February 25, 2021 to October 4, 2021, when she
11   recused herself. (Judicial Defendants' Request for Judicial Notice ("RJN"), Exs. A-B.)
12   During that time, Plaintiff sued Commissioner Ratekin in federal case 21-cv-01570-BTM-
13   AHG, Emert v. Ratekin. (RJN, Ex. C.) Specifically, he brought a§ 1983 claim against her
14   alleging she "enter[ ed] void orders in violation of Rules of Court, State, State law, public
15   policy" and sought the orders to "be set aside." (RJN, Ex. D.) On September 22, 2021,
16   District Judge Moskowitz dismissed Plaintiffs complaint in case 21cv1570-BTM-AHG
17   with prejudice. (RJN, Ex. E.) Judgment was entered that same day. (RJN, Ex. C.)
18          On October 5, 2021, the family law case was reassigned to Judge Alksne. (RJN, Ex.
19   F.) Judge Alksne presided over the trial on November 29, 2021. (RJN, Ex. G.) At the
20   conclusion of trial, Judge Alksne awarded sole legal and physical custody of Plaintiffs
21   minor children to mother, defendant Andrea Schuck ("Schuck"). (Id.) Plaintiff appealed
22   Judge Alksne's order granting sole legal and physical custody of Plaintiffs minor children
23   to Schuck. (RJN, Ex. H.) The appeal is currently pending. (Id.)
24         On February 22, 2022, the case was reassigned from Judge Alksne to another
25   Superior Court judge. (RJN, Ex. I.) The family dissolution case is ongoing. (RJN, Ex. J.)
26   Plaintiff has two motions for reconsideration set to be heard on April 20, 2023, and May
27   18, 2023, in the family matter. (Id.)
28
     Appeals v. Feldman, 460 U.S. 462, 483 (1983).

                              MEMORANDUM OF POINTS AND AUTHORJTIES - 2
                                                                                          23cv0230
                             ii.    Criminal Case SCD297230
2                    Plaintiff was arrested on January 3, 2023, and charged with one felony count of
 3   violation of California Penal Code section 278.5(a), child abduction-violation of
 4   custody/visitation rights. (Complaint at p. 14, ,r 40; RJN, Ex. K.) At arraignment on January
 5   6, 2023, he pleaded not guilty and Judge Halgren denied his motion for release. (RJN, Ex.
 6   L.) Thereafter, Judge Danielsen denied Plaintiff cash bail at the bail review hearings on
 7   January 11 and 13, 2023, and remanded him to custody. (Complaint at p. 15,                  ,r,r 45-46;
 8   RJN, Ex. M.) He was bound over on the felony count at the conclusion of his preliminary
 9   hearing on February 10, 2023. (RJN, Ex. N.) He is currently being held in custody on no
10   bail. (Id.)
11                   B.      Allegations Against The Judicial Defendants.
12                   Plaintiff alleges the Judicial Defendants conspired and committed "judicial
13   deception" in both the family law and criminal cases to "punish him for criticizing
14   government officials" by ultimately having him arrested and held on no bail. (Complaint
15   at p. l, Ins. 24-27; p. 2, Ins. 10-12; p. 25, ,r,r 80-81.)
16                           1.     Allegations as to Commissioner Ratekin
17           With regard to Commissioner Ratekin, he alleges she:
18           •       "without testimony, and without reviewing the case, made an unsubstantiated
19                   claim," regarding Plaintiff minor son's future placement. (Complaint at pp. 10-11, ,r
20                   16.);
21           • "threatened to put B.E. in foster care and later removed parental rights from Emert
22                   as a result of a witness signing a declaration in support of Emert." (Id. at p. 16,   ,r
23                   49.);
24           • "made the first court order through judicial deception by using the witness's
25                   (Fidelman) declaration as a pretext for a reckless disregard for the truth." (Id. at p.
26                   22, ,r 68.);
27   I I I
28   /   /       /



                                        MEMORANDUM OF POINTS AND AUTHORITIES - 3
                                                                                                    23cv0230
         • "made a retroactive order for supervised visits of Plaintiffs children because a Kids
 2          Matter Charity member witnessed Dr. Olague lie in his report" and "back-dated" the
 3          September 30, 2021, Order after she recused herself. (Id. at p. 12, ,r,r 26-27.);
 4       • "issued a press release stating that she joined Signature Resolution of San Diego as
 5          an ADR private judge" three weeks before she was assigned Plaintiffs family case. 4
 6          (Id. at p. 7,   ,r 4.);
 7       • "did not disclose that she was being hired by opposing counsel David Schulman for
 8          legal services" or his firm while presiding over Plaintiffs family case. (Id. at pp. 8-
 9          9, ,r,r 7, 12; p. 24, if 77.);
10       • "was being paid by Schulman and Moore in the form of increased matters at
11          Signature Resolution ... while presiding over Plaintiffs [sic] divorce matter." (Id. at
12          p. 9, if 1O; p. 24, if 78);
13       • "exhibit[ ed] actual bias towards Schuck and against Plaintiff' (Id. at p. 24,   ,r 77. );
14       • acted in concert with Judge Alksne "in perpetrating the illicit pattern of behavior...
15          ." (Id. at p. 21, ,r 67.);
16       • acted in concert with defendants Olague, Cord, and Schulman "[i]n carrying out the
17          illicit pattern of behavior." (Id. at p. 23,   ,r 72.)
18                 ii.       Allegations as to Judge Alksne
19          As to Judge Alksne, he alleges she:
20       • improperly "denied [his ADA] request for remote appearance and denied his request
21          to continue the trial." (Complaint at p. 2, Ins. 18-19, 23-24.);
22       • held an ex-parte hearing where Plaintiff was not served and then denied him access
23          to said hearing. (Id. at pp. 12-13, ,r 29; p. 28,    ,r 96.);
24       • held another ex-parte hearing denying him and his witnesses access to the hearing.
25          (Jd. at p. 13, ,r 30; p. 28, ,r 96.);
26
     4
27     Although not material to this Motion, for clarification purposes Commissioner Ratekin
     did not preside over any cases at Signature Resolution until after she had already retired
28
     from the court.

                                      MEMORANDUM OF POINTS AND AUTHORITIES - 4
                                                                                             23cv0230
             •       denied him remote access to trial on November 29, 2021. (Id. at p. 13,132; p. 28, ,r
 2                   97.);
 3           •       acted in concert with Commissioner Ratekin "in perpetrating the illicit pattern of
 4                   behavior.... " (Id. at p. 21, ,r 67. );
 5           • "created new hearing dates to obtain the same custody removal court order as
 6                   Ratekin." (Id.)
 7           • "did not allow 'reasonable' modifications that do not impose an undue burden and
 8                   do not fundamentally alter the nature or character of the government program for an
 9                   ADA-disabled Emert into the November 2021 hearing to present his side of the
                     case." (Id.)
11                           iii.          Allegations as to Judge Danielsen
12                   As to Judge Danielsen, Plaintiff alleges he unlawfully ordered Plaintiff be held on
13   no bail. ( Complaint at p. 15,                  ,r,r 47-48,   p. 20,     ,r 63.)   Specifically, according to Plaintiff,
14   Judge Danielsen failed to "inquire as to Plaintiffs [sic] financial situation to afford bail, nor
15   did he inquire as to whether Plaintiff had weapons." (Id. at p. 15, ,r 46; p. 20, ,r 63.)
16                           iv.           Causes ofAction
11                   Based on the allegations above, Plaintiff asserts a § 1983 declaratory relief claim
18   (Complaint at pp. 17-21, ,r,r 52-65) and conspiracy cause of action under § 1983 against all
19   the Judicial Defendants (Id. at p. 20-25,                        ,r,r   70-83). He also asserts a § 1983 claim for
20   violation of his 5th and 14th Amendment rights against Commissioner Ratekin and Judge
21   Alksne (Id. at pp. 21-22,                  ,r,r 66-69) and a violation of the ADA against Judge Alksne. (Id.
22   at pp. 28-29,                  ,r,r   94-105.) Plaintiff is seeking "declaratory relief in regard to the
23   unreasonable bail" (Id. p. 21, ,r 65) and compensatory and punitive damages because he "is
24   now incarcerated without bail based on the order of Commissioner Ratekin and Judge
25   Alksne who endorsed it." (Id. at p. 25,                       ,r,r   81-82.) Additionally, he is seeking attorney's
26   fees. (Id. at p. 29, Ins. 15-27.)
27   /   /       /

28   /   /       /



                                               MEMORANDUM OF POINTS AND AUTHORITIES - 5
                                                                                                                     23cv0230
                                                    III.
 2                                          LEGAL STANDARD
 3               Federal Rule of Civil Procedure 12(b)(l) allows for a motion to dismiss based on
 4   lack of subject matter jurisdiction. See Fed. R. Civ. P. 12(b)(l). Such a motion may be
 5   facial, where the inquiry is confined to the allegations in the complaint, or factual, where
 6   the court looks beyond the complaint to extrinsic evidence. Wolfe v. Strankman, 392 F.3d
 7   358, 362 (9th Cir. 2004).
 8               A motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil
 9   Procedure is a challenge to the sufficiency of the pleadings set forth in the complaint. A
10   dismissal is proper under Rule 12(b)( 6) when the complaint "fails to state a cognizable
11   legal theory or fails to allege sufficient factual support for its legal theories." Caltex
12   Plastics, Inc. v. Lockheed Martin Corporation, 824 F.3d 1156, 1159 (9th Cir. 2016). A
13   Rule 12(b)(6) motion for failure to state a claim may also challenge defenses disclosed on
14   the face of the complaint or which are apparent from matters subject to judicial notice.
15   Weisbuch v. County of Los Angeles, 119 F.3d 778, 783 n.1 (9th Cir. 1997); Skilstaf, Inc. v.
16   CVS Caremark Corp., 669 F.3d 1005, 1016 n. 9 (9th Cir. 2012); Mack v. South Bay Beer
17   Distributors, Inc., 798 F.2d 1279, 1282 (9th Cir. 1986), overruled on other grounds by
18   Astoria Fed. Sav. & Loan Ass 'n v. Solimino, 501 U.S. 104 (1991).
19               "To survive a motion to dismiss, a complaint must contain sufficient factual matter,
20   accepted as true, to state a claim to relief that is plausible on its face." Ashcroft v. Iqbal,
21   556 U.S. 662, 678 (2009) (internal quotation marks omitted). "While legal conclusions can
22   provide the framework of a complaint, they must be supported by factual allegations." Id.
23   at 679. A court is "free to ignore legal conclusions, unsupported conclusions, unwarranted
24   inferences and sweeping legal conclusions cast in the form of factual allegations." Farm
25   Credit Servs. v. Am. State Bank, 339 F.3d 764, 767 (8th Cir. 2003) (citation omitted).
26   I I I
27   /   /   /

28   /   /   /



                                  MEMORANDUM OF POINTS AND AUTHORJTIES - 6
                                                                                              23cv0230
                                                      IV.
 2                                              ARGUMENT
 3               A.    Judicial Defendants Are Absolutely Immune From Liability.
 4               "Judges and those performing judge-like functions are absolutely immune from
 5   damage liability for acts performed in their official capacities." Ashelman v. Pope, 793
 6   F.2d 1072, 1075 (9th Cir. 1986) (en bane). "This absolute immunity insulates judges from
 7   charges of erroneous acts or irregular action, even when it is alleged that such action was
 8   driven by malicious or corrupt motives, [citation], or when the exercise of judicial authority
 9   is 'flawed by the commission of grave procedural· errors."' In re Castillo, 297 F .3d 940,
10   952 (9th Cir. 2002) (quoting Stump v. Sparkman, 435 U.S. 349, 359 (1978)). "Judicial
11   immunity applies however erroneous the act may have been, and however injurious in its
12   consequences it may have proved to the plaintiff." Ashelman, 793 F .2d at 107 5 (internal
13   quotation marks omitted). "Disagreement with the action taken by [a] judge," even one
14   resulting in "tragic consequences," also "does not justify depriving that judge of his
15   immunity." Stump, 435 U.S. at 363 (applying judicial immunity to judge who approved
16   petition for sterilization even if approval was in error). ""[J]udicial immunity applies
17   regardless of whether Plaintiffs seek monetary damages, injunctive, or declaratory relief."
18   Ison v. Superior Ct. of California, No. 2:21-cv-01546-MCE-KJN, 2022 WL 4484019, at
19   *7 (E.D. Cal. Sept. 27, 2022); see also Barkus v. Shamoon, No. 3:22-cv-470-RSH-NLS,
20   2022 WL 16701118, at* 1 (S.D. Cal., Nov. 3, 2022).
21               A judicial officer's purported participation in a conspiracy is also insufficient to
22   circumvent judicial immunity. Ashelman, 793 F .2d at 1078 (holding "a conspiracy between
23   a judge and prosecutor to predetermine the outcome of a judicial proceeding ... does not
24   pierce the immunity extended to judges and prosecutors"); Moore v. Brewster, 96 F.3d
25   1240, 1243 (9th Cir. 1996) (superseded by statute on other grounds) (recognizing judicial
26   immunity is not "lost by allegations that a judge conspired with one party to rule against
27   another party[]").
28   /   /   /



                                  MEMORANDUM OF POINTS AND AUTHORITIES - 7
                                                                                              23cv0230
            Judicial immunity is only overcome if the actions were "nonjudicial actions, i.e.,
 2   actions not taken in the judge's judicial capacity" or were "actions, though judicial in
 3   nature, taken in the complete absence of all jurisdiction." Mireles v. Waco, 502 U.S. 9, 11-
 4   12 (1991). A judge is not deprived of immunity for "[g]rave procedural errors or acts in
 5   excess of judicial authority" or if the judge "misinterpret[s] a statute and erroneously
 6   exercise[ s] jurisdiction and thereby act[ s] in excess of his jurisdiction." Schucker v.
 1   Rockwood, 846 F.2d 1202, 1204 (9th Cir. 1988). Thus, in Schucker, the Ninth Circuit held
 8   that even assuming the judge had acted in excess of his jurisdiction, judicial immunity
 9   applied because the alleged conduct by the judge "was not done 'in the clear absence of
10   jurisdiction."' Id. (quoting Stump, 435 U.S. at 357 n.7).
11          "Although unfairness and injustice to a litigant may result on occasion, 'it is a
12   general principle of the highest importance to the proper administration of justice that a
13   judicial officer, in exercising the authority vested in him, shall be free to act upon his own
14   convictions, without apprehension of personal consequences to himself."' Mireles, 502
15   U.S. at 11 (quoting Bradley v. Fisher, 80 U.S. 335,347 (1871)). Moreover, a judge's errors
16   should be corrected on appeal, not by subsequent civil litigation because civil liability
11   "would contribute not to principled and fearless decisionmaking but to intimidation."
18   Pierson v. Ray, 386 U.S. 547, 554 (1967); In re Thomas, 508 F.3d 1225, 1227 (9th Cir.
19   2007) (per curiam).
20          As set forth above in section II, Plaintiffs allegations against the Judicial Defendants
21   are based on their rulings and decisions made in their official capacities as state court
22   judges and judicial officers in his family and criminal matters. As to Commissioner
23   Ratekin, he alleges her "court order [was made] through judicial deception" (Complaint at
24   p. 22, 'if 68) and she improperly "made a retroactive order for supervised visits .... " (Id. at
25   p. 12, 'if 27.) He also takes issue with statements she made during the family court
26   proceedings. (Id. at pp. 10-11, ,r 16; p. 16, ,r 49.)
21          As to Judge Alksne, Plaintiff alleges she erroneously denied his ADA request and
28   unjustly denied him access to various court hearings. (Complaint at p. 2, Ins. 18-19, 23-24;

                               MEMORANDUM OF POINTS AND AUTHORJTIES- 8
                                                                                             23cv0230
 1   pp. 12-13, ,r,r 29-30, 32; p. 21, ,r 67; p. 28, ,r 96.) With regard to Judge Danielsen, Plaintiff
 2   alleges he is liable because of his rulings on bail. (Id. at p. 15, ,r,r 46-48; p. 20, ,r 63.)
 3          Issuing rulings and expressing views on legal or factual issues presented m
 4   proceedings before the court are normal judicial functions. Duvall v. Cnty. of Kitsap, 260
 5   F.3d 1124, 1133 (9th Cir. 2001)(state court judge was entitled to absolute judicial immunity
 6   on claim that judge violated the ADA); see also Lund v. Cowan, 5 F.4th 964, 970-972(9th
 7   Cir. 2021); Bernstein v. United States Dep't of Haus. & Urb. Dev., No. 20-CV-02983-
 8   WHO, 2021 WL 4501795, at *2 (N.D. Cal. Oct. 1, 2021); Nemcik v. Fannin, No. 18-CV-
 9   05120-JST, 2019 WL 720993, at *3 (N.D. Cal. Feb. 20, 2019)Gudicial immunity bars ADA
10   claims to the extent the ADA claims are not already barred by the Rooker-Feldman
11   doctrine); Merritt v. McKenney, No. C 13-01391 JSW, 2013 WL 4552672, at *7-*8 (N.D.
12   Cal. Aug. 27, 2013).
13          Additionally, "[s]etting bail is an act taken in a judicial capacity." Munoz v. Superior
14   Ct. ofLos Angeles Cnty., No. CV 22-3436-MWF (JEMx), 2022 WL 7150155, at *4 (C.D.
15   Cal. Oct. 7, 2022); see also Hill v. Ponner, No. 1:18-cv-01471-DAD-SKO, 2019 WL
16   142280, at *3 (E.D. Cal. Jan. 9, 2019). Indeed, denying bail is a judicial act entitlingjudges
17   to absolutely immunity. Pattillo v. White, 890 F.2d 420 at* 1 (9th Cir. 1989) (unpub.).
18          Even orders and rulings allegedly made in bad faith, maliciously, corruptly, or
19   erroneously, are unquestionably a normal judicial function. Duvall, 260 F.3d at 1133.
20   Indeed, "allegation[s] that [a] judge committed ... ethical violation[ s] will not strip the
21   judge of the shield of absolute judicial immunity." Robertson v. City of Grand Rapids, No.
22   1:06-CV-451, 2008 WL 2224173, at *5 (W.D. Mich. May 27, 2008); see also Riser v.
23   Schnieder, 37 F. App'x 763, 764 (6th Cir.2002) (Absolute judicial immunity applies to
24   allegations that a judge's "actions violated various judicial codes and constituted torts.");
25   Parent v. New York, 786 F. Supp. 2d 516, 533 (N.D.N.Y. 2011). Thus, Plaintiffs
26   outlandish and speculative allegations asserting ethical violations by Commissioner
27   Ratekin (Complaint at pp. 8-9,      ,r,r   7, 10, 12; p. 24,   ,r,r 77-78)   do not evade the absolute
28   protection she is afforded under judicial immunity.

                               MEMORANDUM OF POINTS AND AUTHORITIES - 9
                                                                                                    23cv0230
           Overall, accepting Plaintiffs allegations as true for purposes of this Motion, the
 2   Judicial Defendants were simply acting in their judicial capacities and cannot be held liable
 3   for rulings and decisions made in this capacity. Stump, 435 U.S. at 362.
 4         Additionally, there are no facts alleged which would support a finding that the
 5   Judicial Defendants acted "in the clear absence of jurisdiction." Ashe/man, 793 F.2d at
 6   1075. To the contrary, the Complaint makes clear that the Judicial Defendants were acting
 7   well within their jurisdiction. (See Section II of this Memorandum above.)
 8         Finally, the proper mechanism to challenge a judge's errors is on appeal, not by filing
 9   subsequent civil litigation against the judge. Pierson, 386 U.S. at 554; Cal. Rules of Court,
10   Rule 8.406. "It is a judge's duty to decide all cases within his jurisdiction that are brought
11   before him, including controversial cases that arouse the most intense feelings in the
12   litigants. His errors may be corrected on appeal, but he should not have to fear that
13   unsatisfied litigants may hound him with litigation charging malice or corruption." Pierson,
14   386 U.S. at 554. "Imposing such a burden on judges would contribute not to principled and
15   fearless decisionmaking but to intimidation." Id. Indeed, Plaintiff filed an appeal in his
16   family law matter, which is still pending. (RJN, Ex. H.) Additionally, the proper procedure
17   to challenge Plaintiffs bail determination is by petition for writ of habeas corpus, not by
18   filing this lawsuit. (Cal. Pen. Code§ 1490.)
19         For these reasons, absolute judicial immunity precludes this action. Because this
20   fatal defect cannot be cured by an amendment to the pleadings, the Judicial Defendants
21   respectfully request that this Court dismiss this action with prejudice.
22         B.     Eleventh Amendment Immunity Bars Plaintiff's Action.
23         The Eleventh Amendment generally bars suits against a state or an arm of the state
24   under principles of sovereign immunity. Franceschi v. Schwartz, 57 F.3d 828, 831 (9th
25   Cir. 1995). The Eleventh Amendment has been construed as a grant of sovereign immunity
26   to states against suits in federal court and is in the nature of a jurisdictional bar. See
27   Alabama v. Pugh, 438 U.S. 781, 782 n.1 (1978); see also Riggle v. California, 577 F.2d
28   579, 581-82 (9th Cir. 1978).

                             MEMORANDUM OF POINTS AND AUTHORITIES - I 0
                                                                                           23cv0230
           California superior courts are considered arms of the state and therefore enjoy
 2   Eleventh Amendment immunity. Simmons v. Sacramento County Superior Court, 318 F.3d
 3   1156, 1161 (9th Cir. 2003) (holding Eleventh Amendment barred § 1983 claim against
 4   superior court and its employees); Greater Los Angeles Council ofDeafness, Inc. v. Zolin,
 5   812 F .2d 1103, 1110 (9th Cir. 1987) ("conclud[ing] that a suit against the superior court is
 6   a suit against the State, barred by the eleventh amendment"); Los Angeles County Ass 'n of
 7   Envtl. Health Specialists v. Lewin, 215 F. Supp. 2d 1071, 1078 (C.D. Cal. 2002).
 8         Similarly, because judges and court employees are considered arms of the state, they
 9   are also entitled to immunity. See Will v. Michigan Dept. of State Police, 491 U.S. 58, 71
10   (1989); Simmons, 318 F.3d at 1161; White v. Cox, No. C 07-3815 PJH, 2008 WL 686760,
11   at *2 (N.D. Cal. Mar. 10, 2008); Oliver v. Placer Superior Court, No. 2:12-CV-2665 GEB
12   GGH, 2013 WL 2488557, at *3 (E.D. Cal. Jun. 10, 2013); Mahaley v. Mapes, No. EDCV
13   12-01896-PSG OP, 2013 WL 1914237, at *6 (C.D. Cal. Apr. 16, 2013). The immunity
14   applies to suits for damages, injunctive relief, and declaratory relief. Greater Los Angeles
15   Council of Deafness, Inc., 812 F.2d at 1110 n.10.
16         The Complaint alleges conduct performed within the Judicial Defendants' judicial
17   functions. Indeed, as noted above, the Complaint specifically challenges orders and
18   decisions made by the Judicial Defendants in the underlying state family and criminal
19   cases. (See Section II above.) The claims brought against the Judicial Defendants are
20   therefore subject to dismissal under the Eleventh Amendment. As this defect cannot be
21   remedied by amendment, the action should be dismissed with prejudice.
22         C.     The Younger Abstention Doctrine Bars This Action.
23         "Younger abstention is a jurisprudential doctrine rooted in overlapping principles
24   of equity, comity, and federalism." San Jose Silicon Valley Chamber of Commerce
25   Political Action Comm. v. City of San Jose, 546 F .3d 1087, 1091 (9th Cir. 2008). "The
26   notion of 'comity' includes 'a proper respect for state functions, a recognition of the fact
27   that the entire country is made up of a Union of separate state governments, and a
28   continuance of the belief that the National Gove1nment will fare best if the States and their


                             MEMORANDUM OF POINTS AND AUTHORITIES - 11
                                                                                           23cv0230
 1   institutions are left free to perform their separate functions in their separate ways."'
2    Middlesex Cty. Ethics Comm. v. Garden State Bar Ass'n, 457 U.S. 423,431 (1982).
3          A federal court "must abstain under Younger if four requirements are met: ( 1) a
4    state-initiated proceeding is ongoing; (2) the proceeding implicates important state
 s   interests; (3) the federal plaintiff is not barred from litigating federal constitutional issues
6    in the state proceeding; and (4) the federal court action would enjoin the proceeding or
 7   have the practical effect of doing so, i.e., would interfere with the state proceeding in a
 8   way that Younger disapproves." San Jose Silicon Valley Chamber of Commerce Political
9    Action Comm., 546 F .3d at 1092.
10          All of the Younger elements are satisfied in this case. First, Plaintiff remains the
11   subject in two ongoing state actions. (RJN, Exs. J, N.) Both his criminal and family
12   dissolution matter have future hearing dates. (Id.) The second prong of Younger is also
13   easily met. A criminal prosecution unequivocally implicates important state interests. See
14   Younger, 401 U.S. at 44 (recognizing that federal courts should not interfere with criminal
1s   prosecutions as they are quintessential state functions). Additionally, it is well recognized
16   that "divorce, alimony, and child custody decrees" are an area of important state interests.
17   Marshall v. Marshall, 547 U.S. 293, 307 (2006); Prostitis v. Riverside Superior Fam. L.
18   Ct., No. 5:20-cv-00026-SVW-KES, 2020 WL 3843727, at *9 (C.D. Cal. Apr. 15, 2020);
19   Steffens v. Steffens, 955 F. Supp. 101, 104 (D. Colo. 1997).
20          As to the third element, "[t]he 'adequate opportunity' prong of Younger ... requires
21   only the absence of 'procedural bars' to raising a federal claim in the state proceedings."
22   Commc'ns Telesys. Int'! v. Cal. Pub. Util. Comm'n, 196 F.3d 1011, 1020 (9th Cir. 1999)
23   (citing Middlesex Cty. Ethics Comm., 457 U.S. at 432). "[A] federal court should assume
24   that state procedures will afford an adequate remedy, in the absence of unambiguous
2s   authority to the contrary." Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 15 (1987). Younger
26   thus "presupposes the opportunity to raise and have timely decided by a competent state
21   tribunal the federal issues involved." Gibson v. Berryhill, 411 U.S. 564, 577 (1973).
28   Consequently, "a plaintiff opposing abstention bears the burden of establishing that the

                              MEMORANDUM OF POINTS AND AUTHORITIES - 12
                                                                                              23cv0230
 1   pending state proceedings do not provide an adequate remedy for their federal claims."
 2   E.T v. George, 681 F. Supp. 2d 1151, 1176 (E.D. Cal. 2010) (citing 31 Foster Children
 3   v. Bush, 329 F.3d 1255, 1279 (11th Cir. 2003)).
 4         Plaintiff has an adequate opportunity in his ongoing state proceedings to raise
 s   constitutional claims. There is nothing prohibiting Plaintiff from raising these claims in
 6   state court. Indeed, he is raising many of the same arguments in his two pending motions
 7   for reconsideration in the state family court matter. (See RJN, Ex. 0.) Additionally,
 8   Plaintiff is appealing the orders in his family matter. (See RJN, Ex. H.) Further, California
 9   Penal Code section 1490 provides Plaintiff with a mechanism to challenge the bail
10   determination in state court. Clearly, Plaintiff is afforded an adequate opportunity to raise
11   his constitutional claims in state court proceeding and he fails to allege facts to the
12   contrary.
13         Finally, Younger abstention is favored because the instant action would have the
14   practical effect of enjoining the proceedings in the state court. In addition to monetary
1s   compensation, Plaintiff is asking this Court to declare his no bail status in his state criminal
16   matter as unreasonable and a violation of law. Additionally, this lawsuit interferes with
17   Plaintiffs appeal currently pending in his family action.
18         Based on the foregoing, the Younger doctrine bars Plaintiffs action against the
19   Judicial Defendants and the action should be dismissed with prejudice
20         D.     This Action Is Barred By The Rooker-Feldman Doctrine.
21         "Rooker-Feldman is a powerful doctrine that prevents federal courts from second-
22   guessing state court decisions by barring the lower federal courts from hearing de facto
23   appeals from state-court judgments[.]" Bianchi v. Rylaarsdam, 334 F.3d 895, 898 (9th Cir.
24   2003). "A suit brought in federal district court is a 'de facto appeal' forbidden by Rooker-
2s   Feldman when 'a federal plaintiff asserts as a legal wrong an allegedly erroneous decision
26   by a state comi, and seeks relief from a state court judgment based on that decision."'
27   Carmona v. CarmonaJ 603 F.3d 1041, 1050 (9th Cir. 2010), citing Noel v. Hall, 341 F.3d
23   1148, 1164 (9th Cir. 2003 ).


                              MEMORANDUM OF POINTS AND AUTHORITIES - 13
                                                                                              23cv0230
           Rooker-Feldman bars federal adjudication of any claim whether a plaintiff alleges
 2   an injury based on a state court judgment or directly appeals a state court's decision.
 3   Bianchi, 334 F.3d at 900 n.4. The district court lacks subject matter jurisdiction either to
 4   conduct a direct review of a state court judgment or to scrutinize the state court's
 5   application of various rules and procedures pertaining to the state case. Samuel v. Michaud,
 6   980 F. Supp. 1381, 1411-1412 (D. Idaho 1996), aff'd, 129 F.3d 127 (9th Cir. 1997). A
 7   claim is "inextricably intertwined" with a state court decision where "the adjudication of
 8   the federal claims would undercut the state ruling ... ," Bianchi, 334 F.3d at 898, or "where
 9   the relief requested in the federal action would effectively reverse the state court decision
10   or void its ruling." Cooper v. Ramos, 704 F .3d 772, 779 (9th Cir. 2012). A claim is also
11   "'inextricably intertwined' with the decision of a state court, even where the party does not
12   directly challenge the merits of the state court's decision but rather brings an indirect
13   challenge based on constitutional principles." Bianchi, 334 F.3d at 900 n.4; see also
14   Ignacio v. Judges of US. Court ofAppeals for Ninth Circuit, 453 F .3d 1160, 1165 (9th Cir.
15   2006) (noting Rooker-Feldman "precludes constitutional claims that are 'inextricably
16   intertwined' with the forbidden appeal"). "A plaintiff may not avoid the Rooker-Feldman
17   bar by styling her attack on the state court's ruling as a civil rights action." Wagner v.
18   Copart, No. CV 14-05569-GHK (DTB), 2015 WL 6549109, at *5 (C.D. Cal. Sep. 11,
19   2015), adopted by 2015 WL 6510340 (C.D. Cal. Oct. 27, 2015).
20         The Complaint makes clear the instant action is "inextricably intertwined" with
21   Plaintiffs underlying family and criminal matters and is a de-facto appeal of the rulings
22   made in those actions. Specifically, he asserts:
23         "At the start of the custody trial, Emert and Schuck had joint legal custody of
24         all the children. After Comm Ratekin was brought in as commissioner, Comm
25         Ratekin threatened to put B .E. in foster care and later removed parental rights
26         from Emert as a result of a witness signing a declaration in support of Emert.
27         In an attempt to cover for Ms. Ratekin's unconstitutional set of decisions,
28         Judge Alksne, despite the ADA request from Emert on Nov 10, 2021, then

                             MEMORANDUM OF POINTS AND AUTHORITIES - 14
                                                                                          23cv0230
              orders a new hearing but denies Emert and his witnesses remote access into
 2            the court (during the height of Covid) which resulted in a default custody
 3            decision against Emert (Complaint at p. 16,        ,r 49)   . . . Absent the default
 4            judgment [in his family case], there was no basis for the warrant." (Id. at p.
 5            29, ,r 101.)
 6            Plaintiff states he is seeking "declaratory relief in regard to the unreasonable bail"
 7   (Complaint at p. 21, ,r 65) and actual and punitive damages because he "is now incarcerated
 8   without bail based on the order of Commissioner Ratekin and Judge Alksne who endorsed
 9   it." (Id. at p. 25,     ,r,r 81-82.) Clearly, Plaintiff is improperly seeking review of state court
10   decisions, which are inextricably intertwined with this federal action. Consequently,
11   Rooker-Feldman precludes Plaintiff's action against the Judicial Defendants and the
12   Complaint should be dismissed with prejudice.
13            E.     The Action Is Barred By Res Judicata As To Commissioner Ratekin.
14            "Federal preclusion law applies to determine the preclusive effect of a prior federal
15   court judgment where the rendering federal court sat in federal question jurisdiction."
16   Johnson v. Altamirano, 418 F. Supp. 3d 530, 550 (S.D. Cal. 2019). Res judicata, or claim
17   preclusion, prevents parties from relitigating claims that were or could have been asserted
18   in a previous action. Manufactured Home Cmtys. Inc. v. City of San Jose, 420 F .3d 1022,
19   1031 (9th Cir. 2005). "Res judicata is applicable whenever there is ( 1) an identity of
20   claims, (2) a final judgment on the merits, and (3) privity between parties." Tahoe-Sierra
21   Pres. Council, Inc. v. Tahoe Reg'! Planning Agency, 322 F.3d 1064, 1081 (9th Cir. 2003)
22   (   quotation marks omitted). As to Commissioner Ratekin, each of the foregoing elements is
23   satisfied in this action.
24            An "identity of claims exists when two suits arise from the same transactional
25   nucleus of facts." Tahoe-Sierra, 322 F .3d at 1078 (quotation marks omitted). "Newly
26   miiculated claims based on the same nucleus of facts may still be subject to a res judicata
27   finding if the claims could have been brought in the earlier action." Id. Indeed, "[r]es
28   judicata bars relitigation of all grounds of recovery that were asserted, or could have been

                                   MEMORANDUM OF POINTS AND AUTHORITIES - 15
                                                                                                 23cv0230
 1   asserted, in a previous action between the parties ... [;] [i]t is immaterial whether the claims
2    asserted subsequent to the judgment were actually pursued in the action that led to the
3    judgment." Id. (emphasis added.)
4                The "transactional nucleus of operative facts" involved in this action is the same as
 5   Plaintiffs prior federal action. Both actions arise out of Plaintiffs family law matter which
6    Commissioner Ratekin presided over. (RJN, Exs. D-E.) In both actions, Plaintiff challenges
7    Commissioner Ratekin' s rulings in the family matter. (Id.; Complaint at pp. 10-11, ,r 16; p.
 8   16, ,r 49; p. 22, ,r 68.) Further, as the authorities clearly provide, the fact that Plaintiff could
 9   have raised his additional claims against Commissioner Ratekin in the prior litigation but
10   did not, does not preclude the application of res judicata.
11               There is also a final judgment on the merits in the prior action. (RJN, Ex. E.) The
12   phrase "final judgment on the merits" is often used interchangeably with "dismissal with
13   prejudice." Stewart v. US. Bancorp., 297 F.3d 953, 956 (9th Cir. 2002). Given the prior
14   action was dismissed with prejudice, the second element of res judicata is met.
15               Lastly, there is privity between the Plaintiff and Commissioner Ratekin in both
16   actions as Plaintiff named her as a defendant in the actions. Thus, as all the elements of res
11   judicata are met, the instant action is precluded as to Commissioner Ratekin.
18                                                     V.
19                                              CONCLUSION
20               As set forth above, in this matter, the grounds for dismissal with prejudice are vast.
21   In summary, the Complaint should be dismissed because this action barred by the doctrine
22   of absolute judicial immunity and Eleventh Amendment immunity. Additionally, the
23   Complaint should be dismissed pursuant to the Younger and Rooker-Feldman doctrines.
24   Also, the Complaint is barred by res judicata as to Commissioner Ratekin. Because Plaintiff
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26   I I I
21   I I I
28   /   /   /



                                  MEMORANDUM OF POINTS AND AUTHORITIES - 16
                                                                                                 23cv0230
 1   cannot cure these defects by way of amendment, the Judicial Defendants respectfully
 2   request that this Court grant this Motion to Dismiss, without leave to amend, and enter a
 3   judgment of dismissal with prejudice in their favor.
 4

 5                                          Respectfully submitted,
 6                                          SUSANNE C. KOSKI
 7
                                            Superior Court of California, County of San Diego
     DATED:
 8                                          By:    s/ Carmela E. Duke
 9   March 3, 2023                               CARMELA E. DUKE
                                            Attorneys for Defendants The Honorable
10
                                            Patti C. Ratekin, Retired Commissioner of the
11                                          Superior Court of California, County of San
12
                                            Diego, The Honorable Lorna A. Alksne, Retired
                                            Judge of the Superior Court of California, County
13                                          of San Diego, and The Honorable David J.
14                                          Danielsen, Retired Judge of the Superior Court of
                                            California, County of San Diego
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                             MEMORANDUM OF POINTS AND AUTHORITIES - 17
                                                                                       23cv0230
